Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 1 of 23
Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 2 of 23
Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 3 of 23
Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 4 of 23
Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 5 of 23
Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 6 of 23
Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 7 of 23
Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 8 of 23
Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 9 of 23
Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 10 of 23
Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 11 of 23
Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 12 of 23
Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 13 of 23
Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 14 of 23
Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 15 of 23
Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 16 of 23
Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 17 of 23
Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 18 of 23
Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 19 of 23
Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 20 of 23
Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 21 of 23
Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 22 of 23
Case 2:12-cr-00084-APG-GWF   Document 172   Filed 11/07/13   Page 23 of 23
